
PER C.URIAM.
We affirm the lower court’s denial of the defendant’s most recent post-conviction motion. This is the defendant’s fourth post-conviction motion and seventh appeal or petition to this court concerning his convictions and sentences in Case Nos. 91-13277, 90-20372, 89-10102, 89-16268, 89-16794. Enough is enough. The defendant is prohibited from filing any further pro se pleadings with this court concerning his convictions and sentences in Case Nos. 91-13277, 90-20372, 89-10102, 89-16268, 89-16794. As this court did in Hendrix v. State, 712 So.2d 778 (Fla. 5th DCA 1998); Davis v. State, 705 So.2d 133 (Fla. 5th DCA 1998); Rooney v. State, 699 So.2d 1027 (Fla. 5th DCA 1997) and O’Brien v. State, 689 So.2d 336 (Fla. 5th DCA), rev. denied, 697 So.2d 511 (Fla.1997), the defendant is warned of the consequences of persisting.
AFFIRMED.
W. SHARP, GOSHORN and THOMPSON, JJ., concur.
